Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page1of15

Exhibit “A”
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 2 of 15

— NIXON
PEABODY

Richard C. Pedone
T 647-345-1305
rpedone@nixonpeabody.com

100 Summer Street
Boston, MA 02110-2138
617-345-1000

July 17,2014 SS

FEDERAL EXPRESS AND ELECTRONIC MAIL

Roberta A. DeAngelis

United States Trustee

United States Department of Justice

Office of the United States Trustee

J. Caleb Boggs Federal Building

844 King Street, Suite 2207, Lockbox 35

Wilmington, DE 19801

Attention: Andrea B. Schwartz, Trial Attorney
Richard L. Schepacarter, Trial Attorney

RE: In re Energy Future Holdings Corp. Case No 14-10979 (CSS) - Official Committee of
Unsecured Creditors

Dear Andrea and Richard:

As you know we represent American Stock Transfer & Trust Company, LLC (“AST”)
as the successor trustee to The Bank of New York Mellon Trust Company, N.A. (in such
capacity, the “Indenture Trustee”) under the Indentures listed on Schedule I attached hereto.!
We write to request that the U.S. Trustee appoint an official committee of unsecured creditors
for Energy Future Holdings Corp. (““EFH”).

These cases, though initially styled as a simple balance sheet restructuring, are among
the largest and most complex ever filed in the District of Delaware and they raise numerous
complicated legal and financial issues involving the tax treatment of proposed transactions, the
treatment of intercompany claims, and the valuation of the Debtors’ energy generation and
regulated transmission businesses. While these cases were commenced with a pre-negotiated
plan memorialized in the Restructuring Support Agreement (the “RSA”), which was executed
by holders of a significant amount of debt at many levels of the Debtors’ complex capital

’ Capitalized terms used but not defined herein shail have the mean ascribed to them in the Declaration of Paul
Keglevic in Support of First Day Motions [ECF 98].

13060231.2
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 3of15

Andrea B. Schwartz

Richard L. Schepacarter NIXON PEABODY LLP
July 17, 2014 ATTORNEYS AT LAW
Pape 2

NIXONPEABGDY.COM
@NIXONPEABODYLEP

structure, the motion to approve that RSA has been adjourned indefinitely and it has been
reported that the RSA has been, or soon will be, terminated by one or more parties to the
agreement. Clearly these cases are not progressing according to “plan.”

In the midst of this chaos there is no fiduciary appointed pursuant to the Bankruptcy
Code looking out for the interests of EFH creditors. Section 1102 of the Bankruptcy Code
requires the U.S. Trustee to appoint a committee or committees with responsibility for each
Debtor’s bankruptcy case. Your office Trustee, in its appointment of the Unsecured Creditors’
Committee of only the TCEH Debtors and EFH Corporate Services Company, made clear that
the appointed committee would not represent the interests of the EFH unsecured creditors. (See
Notice of Appointment of Committee of Unsecured Creditors |D.1. 420]). AST is eligible and in
fact well positioned to serve on a committee of unsecured EFH creditors. Neither the Indenture
Trustee, nor any holders of the EFH Notes (other than certain funds affiliated with FMR LLC
(collectively, “Fidelity”}) were signatories to or bound by the RSA. The Indenture Trustee has
not received, and does not expect to receive, any direction from funds affiliated with Fidelity.
In addition, we are aware of at least three unsecured creditors with claims against EFH that have
expressed interest in serving on a committee of unsecured EFH creditors.

Accordingly, we request the U.S. Trustee fulfill its statutory mandate under the
Bankruptcy Code to ensure adequate representation of each of the Debtors’ creditors and
appoint a committee to represent unsecured creditors of EFH. We would be happy to work with
you to the extent that you are not able to identify other potential committee members.

Time is of the essence in light of the complexities and pace of this case. We believe, in
these circumstances, that the Bankruptcy Code mandates the prompt appointment of a
committee. Accordingly, we respectfully request that you contact us by the end of the day
tomorrow to discuss the formation of a second committee to fulfill this important fiduciary
function. If we do not receive a prompt positive response, we will bring our request directly to
the Court.

"Oe. ( i’

Richard C. Pedone

Ce: Edward O. Sassower, Esq.

1506023 1,2
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 4of15

Schedule 1

EFH Unsecured Legacy Notes issued pursuant to:

L,

Indenture dated as of November 1, 2004, between Energy Future Holdings Corp.“EFR”), as
issuer, and the Indenture Trustee, as trustee, as amended and supplemented by the Officer’s
Certificate, dated as of November 26, 2004, the Supplemental Indenture, dated as of July {,
2010, and the Second Supplemental Indenture, dated as of April 15, 2013 (collectively, the
“Series P Indenture’).

Indenture dated as of November |, 2004, between EFH, as issuer, and the Indenture Trustee, as
trustee, as amended and suppiemented by the Officer’s Certificate, dated as of November 26,
2004, the Supplemental Indenture, dated as of December 5, 2012, and the Second Supplemental
Indenture, dated as of April 15, 2013 (collectively, the “Series O Indenture”).

Indenture dated as of November 1, 2004, between EFH, as issuer, and the Indenture Trustee, as
trustee, as amended and supplemented by the Officer’s Certificate, dated as of November 26,
2004, the Supplemental Indenture, dated as of December 5, 2012, and the Second Supplemental
Indenture, dated as of April 15, 2013 (collectively, the “Series R Indenture”)

EFH Unexchanged Notes issued pursuant to:

1,

Indenture dated as of November 16, 2009, between EFH, as issuer, and the Indenture Trustee, as
trustee, as amended and supplemented by the Supplemental Indenture, dated as of January 25,
2013, and the Second Supplemental Indenture, dated as of April 15, 2013 (collectively, the
“975% Senior Notes Indenture”).

Indenture dated as of January 12, 2010, between EFH, as issuer, and the Indenture Trustee, as
trustee, as amended and supplemented by the First Supplemental Indenture, dated as of March
16, 2010, the Second Supplemental Indenture, dated as of April 13, 2010, the Third
Supplemental Indenture, dated as of April 14, 2010, the Fourth Supplemental Indenture, dated as
of May 21, 2010, the Fifth Supplemental Indenture, dated as of July 2, 2010, the Sixth
Supplemental Indenture, dated as of July 6, 2010, the Seventh Supplemental Indenture, dated as
of July 7, 2010, the Eighth Supplemental Indenture, dated as of January 25, 2013, and the Ninth
Supplemental Indenture, dated as of April 15, 2013 (collectively, the “10.00% Senior Notes
Indenture”).

EFH LBO Notes issued pursuant to:

1,

1$060231.2

Indenture dated as of October 31, 2007, among EFH, as issuer, the Guarantors party thereto and
the Indenture Trustee, as trustee, as amended and supplemented by the First Supplemental
Indenture, dated as of July 8, 2008, the Second Supplemental Indenture, dated as of August 3,
2009, the Third Supplemental Indenture, dated as of July 29, 2010, the Fourth Supplemental
Indenture, dated as of October 18, 2011, and the Fifth Supplemental Indenture, dated as of April
15, 2013 (collectively, the “10.875% Senior Notes and 11.250%/12.000% Senior Toggle Notes
Indenture”, and collectively with the Series P Indenture, the Series Q Indenture, the Series R
Indenture, the 9.75% Senior Notes Indenture, and the 10.00% Senior Notes Indenture, the
“Indentures”).

Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 5of15

Exhibit “B”’
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 6 of 15

U.S. Department of Justice

Office of the United States Trustee

District of Delaware
Sid King Street, Suite 2207 - (302) T73-642]
Wiinington, DE 1880) fax (802 573-6497

July 30, 2014
VIA REGULAR MATL AND EMAIL
Richard Pedone, Esquire
Nixon Peabody, LLP
100 Sumer Street
Boston, MA 02110

Re:  Inre Energy Future Holdings Corp. — Lead Case No. 14-10979(CSS}
‘Dear Mr. Pedone:
Thank you for your interest in the above-referenced matter.

After consideration of your July 1 7, 2014 letter and July 23, 2014 Motion, on behalf of American
Stock Transfer & Trust Company, LLC, as successor trustee to The Bank of New York Mellon Trust
Company, N.A., (“Indenture Trustee Motion”}, seeking the appointment an official committee of
unsecured creditors for Energy Future Holdings Corporation, the U. 8. Trustee has decided to solicit
farther for such a committee.

In order to facilitate the U.S. Trustee's solicitation, kindly provide us with a Hst, along with
addresses and contact information, of the beneficial holders and/or owners of the EFH Unsecured
Legacy Notes, the EFH Unexchanged Notes and the EFH LBO Notes, excluding any insiders. To the
extent that you do not have and cannot obtain a comprehensive list, please provide whatever information.
you do have, so as to facilitate the appointment of such a committee that is representative of the interest
of the various unsecured creditors of EFH.

We also request that you adjourn or continue the Indenture Trustee’s Motion to the September
16, 2014 omnibus hearing in light of the U. S. Trustee’s further solicitation for an EFH committee.
Thank you for your anticipated cooperation. Please call me with any questions you may have.

Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 7 of 15

Exhibit “C”
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 8 of 15

ATTOEN EYS AT LAW

FOLEY & LARDNER LLP

G OIREGT LINE
bE
Bigiov.catn EMAL

hkanie

CLEA, MATTER NUMBER
OOD CAE

daly 31, 2074

Woe Electronic Mel!

Richard. L, Schepicarter
OfBce of the u nited States ‘Trusive

Ber  Eneray Future Heldimes Corp., ef al. ~ Case No. 14-1079 £

Dear Myr. Schepacarter:

As ay know, UMB Bank, N.A.. as indenture irustce (UME Bank”), arid American Stock
‘Franster de ° ~orysany, LLC, as indenture trustee CAST, together with UNS : sank, the “Ee
Ride Unsecured Notes Indenture Trustees”), are the indenture trustees for fhe urisecured notes,
tésnectively, of os Hat

EEIR'S and Isnergy Future
Hoklings Corp. ©

, and collectively with EB PIE he “Deblors” 1.

We wie vou as counsel for UMS Bank ta suggest what we believe io be a mutually
acceptable allernative te the appolutiment ef one or more commiilives on the E-Side. That suggestion
Pan aeder or "Stipulation {the “Order™") pursuant to sections a ajand 363 wo" of title 11 e

@ (the Bankrup tey Coe") authorizing Deb EPFTA and EF - who we

» Bae yosition ~ to reimburse and. pay the reasonable fees and

expenses of the E-5 ide | i “asecuredd Notes Indenture Trustees and their professionals in accordance

with ihe term: of the Indentures (ae defined below’) oma current basis. Such cowd be done, net as

traditional adwinistrative expenses, bul solely as advances against ultimate distributions on te

jon and reimoiursement af indenture irustee Jeex and expenses pursuant to a comfirneed

cneprer 17 vile This, our proposal only limpacts the uniing of payment of such fees and expenses,
and does nol credte or affect any substastive rights under the Bankrupicy Code.

in suri. such a tesalution ig in the best interests of the Debfors’ estates as. well as the
efficiemt, economic and flimely administration of these chapter 11 cases, particularly in ght of the
acevlerated proceed which have already occurred. and/or are still pending on a number of
significant Hide issues, including. orsginaDy | the a uct ring g Support 2 Agreemet ‘a uf “RSA ) ang
econd Lien 12 SIP fm ancing, » and stl

qaier

dora |
pest €G

ft hundreds of mm lions of col bare in principal
te8 who were nol ot parties io the RSA, ay a “prudent person” would.
ted pace of inese chapter 1] cases and there being no &-Side

amon ‘of Fe-bide Uinse ewured h
Particularly in Heht af the accel

SCSFECHS SAN DIEGO TALLARASSEE
HOSEARLS. SBN PRASICIS! TAMPA

CHICAGG SHANGH TORTS

ET RT FRLIGON VALLEY WASHINGTON, D0

S800-7 085-2386 2
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 9of15

f

FOLEY &@ LARDNER LEP

Richard Schepacarter
Jay 3, 2014
Page 2

erediturs’ comunittes, ine E-Side Unsecured Netes Indenture Trustees, while havirig significant
responsibilities, are hard pressed without such advances from their Debtors (EFIM and EFM,
respectively). iO periorm, on a timely basis or ofnerwise, their fumclion as essentially the primary
oificial representatives ofthe E-Side unsecured creditors, m their capacities. as such. As a practical
miatter, he E-sicde Unsecured Notes indenture Trustees are nat material economme siekehoiders in
these cases, in heir individual capacities. Rather, they are service providers to the Debtors and the
woteholders under their respective indentures.

BACKGROUND

On A, po 4 26, 2014 (the “Petition Date”), each of the Debtors file “e -vormtars petition with
the Court under chapter 11 of the Bankruptcy Code (the “Chapter 1] Cases”). The Debters are
operating their busitiesses and managing their property as.debtors in possession pursuant to sections
yes’ Chapter 1! Cases have been comiolidated
‘yy administer red oursuant to Bankrupity Kale

siec. or examiner has been made in these Chapter] 1

L1O7fa) and 1-06 ef the Bankruptey Code. The De

oF
= ae

for procedural purposes only, and are bent
LO1S¢h}). Ne request fer the appointment of a te

LIMB aks serves as the successor Indenture trustee for: (F} the a 23%e/ 1 2/25% se nior toggle
netes duc 2016 (the “EFIN Senior Togsie Notes”) aid Gi} the 9.75 oY 80 rnotes duc 2019 Gogether
with the EFIE Seni er Toggle Notes. ine “EFDS Unsecured Notes"), both of which were issued by
EFUA and EFIE Finance Inc. ftogether with EF s ‘ ‘The combined ageregate
out standing prin iyal amount of the EFI Unsecured Notes is ©) 568,249,000, which canstitures, by
far, the largest component, if not all, of the peal of unsecured claims. against the estates of the }
Issuers.

ih

AST serves as successor indenture trustee under six EPH indentures. The combined
be outstanding principal amount of the notes issued under these EPH indentures is
ie which constitutes, by far, the largest cornpenent, if noi all, of the poo! of unsecured

claims 8Gat

et

3 -
i

at of ihe E-Side Unsecured Notes inden ture ‘Lrusiees are successor trustees appointed
ely belore and in anucipalion of the fine of the Debiors’ Chapter 11 Cases. Neither of the

isecured Tkotes Indenture Trustees newatiat ed the RSA or the related settlemerits.

} im these Chapter 1] Cases, timely
nites States Trusice requesiing such

However, net only were the E-Side
a Conumittes, but no Comrnitiee was

insecured Creditors (he “Committee
ted guestionnaires te ihe Office of the U
apnoiniment, end altended the Committee formation meeting,
Unsecured IN
appointed tan

de
indenture Trustees nol selected to serve on
dude b-Side creditors.

4000-7 008-

2a 2
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 10of 15

SFOLE

POLLEY & LARDRER LLP

Richard Schepacarter
duly 3}, 2074
Page 3

In fet, Ina footnote to ‘the Notice of Apponmmers< oF Commnitics al Unsecured Creditors, it is

“ihe ‘committee represetite the

oredtors.on t ‘
a Dehtore and EPR Corporate Bervices

interests af
Company and of

Immediately therealler, the R-Side Linsecured Notes Indenture Trustees consulted with tbe
Debtors and ciner myer E-Side parties t6 the cuses aboul options for the most economical and
efficient, and least costly and dilatory, manner to provide mecessary participation in the case and
adequate répvesehtation of B-Side creditor interests.

ieee emerged that instead of the imdentute trustees: secking delays in pending
ne atnotion for the appotntme ant of a second official committee ~ this time for
“ide Wisecured Notes Indenture Trustees (who together represerit practically all
s unsecured debi) would assume the additional: ourdet and cost Gncluding retaming
ars), while the Debters. worl seek authority to cammensele the E-Side Unsecured
xereupon consulted with sigatiicant
clal orediiors’ committee and necessary H-
id ns not TH ebject wo the ~ Propose @ ee

constitue aes particularly the a
Side paras: iof whom approves On
with UME anc all b DHE ut ¢ ane of whem approved er des
wag prope) u thelude the requested relief in t
second Lien Dor, winek Pe i
wes the next metion up for consideration Pye bis proposed orde stim mately fled by the
Debtors witht 2 230 the Second Lien

2).

inter ali, p pen
intervening in the t
appropriate and non-d

igatieri, thet resolution we are suggesting SeCH1S “s nantieulat'y

ABP OGE-2

Soe

bee
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 11of15

sFOLEY

FOLEY & LARDNER LLP

Richard Schenacarter
daly 2], 2014

Pape 4
BASES POR THE RESOLUTION/STIPULATION REQUESTED
AL Praviding Resqurees to E-BSide Unsecured Netes Indenture Trustees to

Perform Their Crifical Statutory and Contractual Services is in the Best

laterests of te Debtors’ Estates.

These Chapter 11 Cases are extraordinary not only because of their magnitude and

complexity, bat because sa many significant issues were and have been ‘preseuted ior inwmediate
consideration and actidn, particularly on the E-Side.

The Debtors’ efforts to move swiftly toward reorranivation resulted im the Debto 8 seeking
reer on a a sumer of complex issues alfecting the E side | Jnsecurec ® iotes Gurimg the early s
Whatton [Docket Now

z

BFIH Second Lien Dy P Financing Motion | Decker

No, aT t and the Motion ee > Entry ‘of an ” Order Authorizing the RSA Debtors to Assutine the
Restructure Support Agreement |Dookel Ne. 305).

The E-Side Unsecured Notes Indenture Trustees, who were moi parties to the prepetitian
nevotiations that led te ul & RBA, nave the responsibility io act as.2 “prudent person” under thre Trust

iiceritige 3 (the “ HA") ami ther respective Indeniures, which would include reviewing
and © Bi Wet ty ce Fogo of &

¢ ach af the Debtors’ major proposals that impact the B-Side Unsecured
Noteholdérs cenerall y and as a class.’ :

As # result, the E- Side Unsec reg Notes Indenture Trustecs required ihe services of and
relwined counsel and fmmancial advisors to perform their duties under the E-Side Unsecured Notes
Indentures end the TIA. The level of required services is and was heightened by the fact that there
has been no b-Side creditors’ vommitioe iG gather relevant ae wiation and share it with unsecured
oreditors in accordance with Bankruptcy Code section LIDZ(>3

' ech of the B-Side Unsecured Notes Indentures provides that the Trustee is sublect te the “prudent man”
t ra. See ag, EFF Senior Joes Notes  Indeunue al ma “ ie an even oF Defsult has eecterecd and is
continuing, the Tr jontyre, avd wee tbe same
degece of care and skill Airturmndtianees in the conduct
af such person's own. i similar “peadent
man” dubes upon the

rthe
'. nadition, + section 315i) sof hes TFuSl indenture Act ot |
iinsecured Notes Indenture Trustees, 95 LSC. & Tfreoo. The Trust indenture Act
ip Jaxor oF the ext stence and compenenen of inden ure (rast a8, See, e. Bs Trust

Indenture Agr 6 362 2 (5 U ;
T¥ESLOTS In NOLES, ... are adver ely : affected {i wher the rob! ws
ts and to represent fhe interests of sack imvestors 7}.

Bor fails tO prow ide 2 TPUSICe To ‘pr elect and enforce the

Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 12 of 15-

EL Y

FOLEY & LARGHEE

Ric

ne d Seheracarter
,2bi4

‘Lhe b-Side Unsecured Notes Indenture wasible
termatives, and it became cléar that the most cost effective and feast d disrt uptive 2 alternative would be
fer the E-Side Unsecured Notes Indenture Trustees to retain necessary counse! and Gnancial advisors
to perform their enhanced responsibilities, including requesting current payment of the reasonable:
fees aud cupenses of the E-Side Unsecured Notes Indenture Trustees and their pr
ERIN paying UME, anc ERE paying AST.

Bs

iésstoviais, with

5. The Requested Relief is Authorized Under the Bankruptey Code and
Pertinent Case Law.

AS tte Debtors halve ee if a number of their first day and other motions, courts ity the

Vaird Circuit and recegnize that deblors may pay not only claims for post~
¥

petilion serviews ant. atininistrative. claims, but may also pay prepetition claims that. are essential ie

the of the ‘debtor’ $ business. See. eg. in re Meridian Auto. Sys.-Compasite
Guerations, Ime. 372 BOK. 710, 714 (Bankr, BD. Bel, 26 075 (granting ibe debtor Orit
ae a atlONs GN aeth to-certain critical vendors}: J re Primary Health Sys., } 275 BAR.

02) (allowing payment of prepetition wages upon a finding that such
voli f WAS “oss nha t tinued operation af the Debtors’ businesses”): in re Just for Peet, fae.
242 BR. t ee ee DD. Del. 1999) Osoting that debtors may gay prepetilion claims that are
essential to the continued operation of the debtor's busimess). Courts have reed on severa! ewe
bases in approving such relief

Courts generally recognize that debtors may pay prey elition (ar ane post-petition) claims under
section 363(b) of the Bankray piev Code where there is a sound busi ine § purpose for the payment of
such obligations, and where the debtor is able te “articulate some h usiness | tusiification, other that.

the Mere appeasement of major creditors.” eg. av re lanosphere tubs, fre, 98 BUR, 174, 275
(Bani &. DLN. Y. 1989) (eranting debtor authority i pay prepetilion wages); Ar Hatrong Worle
Indus. Ine. v. dames 4. Ph ips, ftc., Gn re fa i. Palllips, ined, 29 BUR. 291, 398 (Bankr.

SIRNLY. I 1982) (granting the debtor the autharity to say prepetition claims of suppliers whe were
potential: Hen clanmants),

Courts also recognize that current payments to prepetition ereditors ~ let alone for post-
elition services or administrative claims — are appropriale pursuant fu section 105¢a) of the
Bankruptcy Code under the “docirine of necessity” or the “necessity af payment” ruie where such
paymenis are necessary to the continued operation of the debtor's business. See. ee. In re Lehigh é
New England Ry. Co. 657 F.2d 576, 581 Gd Cir, 1981) Cholding ther a court could authorize

payment of prepetition claims if such payment was essential to the continued operation of

mo

cok git,
eb eB

ave in the first three paragraphs of this section of the letter are twken essentially verbatim from
filings nithese cases,

Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 13 o0f15

LEY

FOLEY & LARDMEF LLP

vl 31, et
Page 6

debtor): Ie re Pemy Ceat. Transp. Co. 467 F.2d 100, 102 n.1 (3d Cin | 172) (holding that the
necessity OF payment doctrine permits “Immediaie payment of claims of creditors where those
creditors will mot supply services or material essential to the conduct of the business until their pre-
reorganization claims have been paid’); Ja re Friedman's, fac, 2011 WL 5978283, at *4 (Bankr. B
Del. Now. 30, 2011) O° MC ost comrts will allow payments fol prepetrion claims] under the ‘dectrine
of necessity,’ ifthe debtor establishes that in Its business judgment making such payments is critical
to the su s OT te debtor's business’) J re Columbia Gas Sys. ine. 171 Buk. 189, 191-99
(Bankr. ©. Del. (994) (noting that debtors may pay prepetition claims that are essential to the
continued Gperaiion of the debtor's business). The rationale for the necessity of payment rule—the
rehabilitation oF a debtor in ‘eorgenization cases—is “the pararnount policy and goal af Chapter 17."
lonasphier . : polit
$ to certain trade ve endors Was  “eegential to the survival of the debtor during the eh apter 11
reorganredtar 1,

Apriving Leese primciples, Courts have authorized a debtor to pay a credi er § profess
enses where there is good business reason to allow such, and the payment is “in the best interests
Ihe Deblors und all parties in interest.’ Chvited States Trustee | . Bethlehem Steef Carp. a re

z Sigel Cosp.§, 2003 U.S, Dist. LEXIS 12909, 2)-2 1 SDN. Y. Jub 23, 20039. In fact, in
‘g Court recently enfered an order authorizing the Debtors to pay certain seeessary
expenses af the POC and EROOT on similar grounds in connection with their
‘participation | in these Chapter [1 Cases. [Docket No, 784]

anbicipated acte

c. ‘The Requested Relief-is in the Best haterests of the Debtors’ Estates and is
Net Prejudicial to Any Party.

Payment of the reasonable fees amd expenses of the E-Side Unsecured Notes Indenture
‘Vrastees and Uveir professionals on a current basis essentially only affects the timing of payment and
does nol prepedice creditors or other stakeholders. Section 7.07 of each Indenture mandates the
payment of ihe Trustee’s reasonable fees and expenses and, in fact, specifically provides that such
fees and expenses aré ee a fcheneing lien against any distribution ultimately made on account

Oe

& secured
ofthe E-Side Unsecured Notes,’ and in any bankruptcy are “intended to constitute expenses of

administration"

* Back on the

esSide Unsecured Notes ldentures requires that any distribution made on account of gach dstes

: tammeys for arsounts due inder Section 7.7 herent including payment
ieuered, and a even es sade, by the Trustec and the cogts and exmenses
ndomiure at § GT). Fhus the reasonabl ie fees and expenses of the E
eaiel must altimately be paid in full before any amounts can be

or collection.” “Ee “1H Senior Tomsle | Note
Vases ured Notes Indervure Trustees and their or
aid te the holders ofthe b-Side Linsecered Nowes.

Ago ea
mach oft
pay the indenture trustee's fees

e E-Side Unsecured Indentures contain substantivily similar provisions requiring that the wsaer mast
atid expenses. Sve, ¢.g.. ZFIM Seniar Toegle Notes indenture, at 87.07:

Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 14of15

FOLEY & LARQWER LL

Richard Sehepacarter
iby 31, 2074
Page 7

As rellected in the RGA and the coxtpetitive bidding on the Second Lien DIP, there is no
dou ibt that E-bide Unsecured Notes are entitled to 2 recovery, and will receive a substantial
isttbution ir these Chapter 1] Cases. Thus, even if only looking to as heit charging Hens, the
reasonable fees and expenses of the E-Side Unsecured Notes Indenture Trustees and their

those eventua distributions.

On ihe other hand, we ate ad that there is a substertial Ukelihond that the ultimate fees
and expenses of E-Bide Unsecured Notes "cual trustees’ professionals may have to be adtusted
and could be substantially higher if payment is not made on a current basis, Mf fer no other reason
1 than financial advisors and other nm rofessionats s willing to be campensated.on a discrete hourly basis
i d currently may otherwise insist on additional compensation if ultimate payment cannot be

anil the conciusign of these Chapter 11 Cases.

services hereunder asthe pertiek shall agree
anitors, » Jointly ane s severally, + Shall reimburse

TES noveptance of dis indenture aid
. Fire issuer and

ve Tresied proarnnt
mae by if im addition 1 the compensation for Res
conigenialion. dispursemeris and expenses af the Trustee's agents and counsel... Now
aayising io the contrary in Section 4.12 hereoi-te secure the payment obligations af the f
Guetamors in this Sectioy 7.07. the Trustee shel
property held or collected by thé Trustee, exce
particuier Notes. Such iden shall survive the satisfaction and discharge of this Indenture. When the
Trhstee ICUS expenses or renders services afler an at of Default specttied in clause 5) ar (7: of
Sestran 6.0 l(a) here! occurs. the expenses and the compensation far the services (including the fees
dnd ekiemaes of ts agents and counsel} are miended io comstitate exnenses of administration ender awit
Bankruproy Lavy no -

anand ig
"and the

iomaney or
ch. in rust to pay germinal and interest om

sionals will net only be easily covered, but will Hkely only amount to a small percentage of
Case 14-10979-CSS Doc1769-2 Filed 08/07/14 Page 15of15

We look forward to following up with you and providing you with any additional

tiformat

m that may be heloful in vour consideration of this issue.

Very truly yours,
act Bh : Oe Z

Harold L. Saplan

Enolosure

velis Give electronic mail)
wartz. (sta electronic merit
ewan Gia electronic mail)
